                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  COLUMBIA DIVISION



UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )           No. 1:10-00007
                                                 )           JUDGE CAMPBELL
CHARLES MIKAN HARRIS, et al.                     )


                                             ORDER

       Pending before the Court is the United States’ Motion To Unseal Plea Agreements

(Docket No. 166). Through the Motion, the Government seeks to unseal the plea agreements for

the Defendants in this case in order to provide copies to the victims.

       The Motion is GRANTED in part, and DENIED in part. The Government may provide

copies of the plea agreements to the victims. The sealed documents, however, shall remain

sealed on the docket.

       It is so ORDERED.

                                                     _________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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